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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


                                          :
 DONNA CURLING, et al.,                   :
                                          :
       Plaintiffs,                        :
                                          :
 v.                                       :
                                                   CIVIL ACTION NO.
                                          :
                                                   1:17-cv-2989-AT
                                          :
 BRAD RAFFENSPERGER, et al.,              :
                                          :
       Defendants.                        :
                                          :

                                    ORDER

      Currently pending before the Court are Plaintiffs’ Renewed Motions for

Attorney’s Fees (Docs. 967, 998), through which Plaintiffs collectively seek to

recover over $6 million in attorney’s fees and expenses. As a component of the

briefing on these pending Motions, the parties have incorporated by reference their

prior briefing from Plaintiffs’ original Motions for Attorney’s Fees (Docs. 595 and

596) and Plaintiffs’ Joint Motion for Sanctions (Doc. 623). In the process of

litigating these Motions, the parties have filed hundreds of pages of briefs and

supporting documents, which, in turn, has resulted in an enormous paper trail.

      Given the voluminous nature of the briefing on this matter, the Court

DIRECTS the parties to submit courtesy copies of their filings to the Court on or

before July 25, 2022 in a manner consistent with the Court’s Standing Order.

(See Standing Order, Doc. 11 at 5–6.) The Court has included a list of the filings
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that it believes should be submitted by each party and the number of binders that

they should each submit 1:

Coalition Plaintiffs

One binder containing the following filings:

    • (Doc. 595) Coalition Plaintiffs’ Original Motion for Attorney’s Fees
    • (Doc. 623) Plaintiffs’ Joint Motion for Sanctions
    • (Doc. 656) Plaintiffs’ Reply in Support of Joint Motion for Sanctions
    • (Doc. 705 pp. 1–45) Coalition Plaintiffs’ Reply in Support of Original
      Motion for Attorney’s Fees
    • (Doc. 967) Coalition Plaintiffs’ Renewed Motion for Attorney’s Fees
    • (Doc. 1029) Coalition Plaintiffs’ Reply in Support of Renewed Motion for
      Attorney’s Fees

A second binder containing the Coalition’s Corrected Detailed Specification and
Itemization of Requested Attorney’s Fees:

    • (Doc. 632) Coalition Plaintiffs’ Corrected Detailed Specification and
      Itemization of Requested Attorney’s Fees

A third binder containing the attachments to the Coalition’s Reply in Support of
Original Motion for Attorney’s Fees:

    • (Doc. 705 pp. 46–154) Attachments to the Coalition Plaintiffs’ Reply in
      Support of Original Motion for Attorney’s Fees

Curling Plaintiffs

One binder containing the following filings:

    • (Doc. 596) Curling Plaintiffs’ Original Motion for Attorney’s Fees
    • (Doc. 623) Plaintiffs’ Joint Motion for Sanctions
    • (Doc. 656) Plaintiffs’ Reply in Support of Joint Motion for Sanctions
    • (Doc. 706 pp. 1–46) Curling Plaintiffs’ Reply in Support of Original
      Motion for Attorney’s Fees
    • (Doc. 998) Curling Plaintiffs’ Renewed Motion for Attorney’s Fees


1If the parties believe that courtesy copies of any additional filings should be submitted, they are
DIRECTED to include those additional filings in their submissions to the Court.

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   • (Doc. 1030) Curling Plaintiffs’ Reply in Support of Renewed Motion for
     Attorney’s Fees

A second binder containing the Curling Plaintiffs’ Detailed Specification and
Itemization of Requested Attorney’s Fees and Exhibits:

   • (Doc. 629) Curling Plaintiffs’ Detailed Specification and Itemization of
     Requested Attorney’s Fees
   • (Doc. 631) Exhibits to Curling Plaintiffs’ Detailed Specification and
     Itemization of Requested Attorney’s Fees

A third binder containing the attachments to the Supplemental Declaration of
David Cross and accompanying exhibits attached to the Curling Plaintiffs’ Reply in
Support of Original Motion for Attorney’s Fees:

   • (Doc. 706-1 pp. 1–91) Supplemental Declaration of David Cross

State Defendants

One binder containing the following filings:

   • (Doc. 647) State Defendants’ Opposition to Plaintiffs’ Joint Motion for
     Sanctions
   • (Doc. 660) State Defendants’ Consolidated Opposition to Plaintiffs’
     Original Motions for Attorney’s Fees
   • (Doc. 1022) State Defendants’ Consolidated Opposition to Plaintiffs’
     Renewed Motions for Attorney’s Fees

Fulton County Defendants

One binder containing the following filings:

   • (Doc. 667) Fulton County Defendants’ Consolidated Opposition to
     Plaintiffs’ Original Motions for Attorney’s Fees
   • (Doc. 1023) Fulton County Defendants’ Opposition to the Coalition
     Plaintiffs’ Renewed Motion for Attorney’s Fees
   • (Doc. 1024) Fulton County Defendants’ Opposition to Curling Plaintiffs’
     Renewed Motion for Attorney’s Fees

The exhibits and attachments associated with each filing should all be separately

tabbed and labeled with the name and index number of the relevant document on

                                        3
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each tab. The page ranges for each exhibit and attachment should also be noted in

an index for each binder. The indices should include descriptions of each exhibit

and attachment with sufficient detail for the Court to determine the nature of all

accompanying documents. 2


         IT IS SO ORDERED this 7th day of July, 2022.


                                           ____________________________
                                           Honorable Amy Totenberg
                                           United States District Judge




2 In other words, the indices should include appropriate titles for each exhibit and attachment
beyond just “Exhibit 1” or “Attachment A.”

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